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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA




   SONY MUSIC ENTERTAINMENT, et al.,

                         Plaintiffs,
                                                     Case No. 1:18-cv-00950-LO-JFA
                  v.

   COX COMMUNICATIONS, INC., et al.,

                         Defendants.


                                             ORDER

         Having reviewed the consent motion of the parties and non-parties Audible Magic,

  MarkMonitor, and the Recording Industry Association of America, good cause having been

  shown, it is hereby

         ORDERED that Plaintiffs shall have until February 9, 2022 to file their opposition to

  Defendants’ Motion for Relief from the Judgment Under Rule 60(b)(3) and Request for

  Indicative Ruling Under Rule 62.1 (the “Rule 60 Motion”).

         It is further ORDERED that Defendants shall have until March 2, 2022 to file a reply in

  support of the Rule 60 Motion.

         It is further ORDERED that the parties shall have until March 9, 2022 to each file a

  single memorandum in support of any other party’s sealing motions in connection with the Rule

  60 Motion.

         It is further ORDERED that non-parties Audible Magic, MarkMonitor, and the

  Recording Industry Association of America shall have until March 16, 2022 to each file a single

  memorandum in support of any party’s sealing motions in connection with the Rule 60 Motion.



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         It is further ORDERED that the information that is the subject of the parties’ sealing

  motions in connection with the Rule 60 Motion be maintained under seal pending resolution of

  the respective sealing motions.



  ENTERED this ______ day of ___________________, 2022.



                                                      __________________________________
                                                      Judge for the Eastern District of Virginia




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